 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 1 of 25 Page|D #: 482

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

 

INDIANAPOLIS DIVISION
UNITED STATES OF AMERICA, )
)
v. )
) _
RAFAEL ROJAS-REYES, ) Cause No. 1:16-cr-00123-TWP-DKL-01
OSCAR MACIAS, ) -02
MERATH MORA-CHAVEZ, ) -03
FRANCISCO TOLEDO-SANTOS, ) -04
a/k/a Chiapas, )
ROBERTO S. MACIAS, ) -06
HECTOR SAUL CASTRO-AGUIRRE, ) -07
a/k/a Chapo, )
a/k/a Chapito, )
ELVIA BARRIOS-MORENO, ) -08
ALDO MACHADO-CASTRO ) -09
JOHN RAMIREZ-PRADO, ) -10
RAFAEL LNU, ) -11
a/k/a Flaco, )
YESENIA ANDRADE-GUILLEN, ) -12
JESUS LOPEZ-ACOSTA, ) -13
a/k/a Jessie, )
JULIO CESAR CEBRERO-ALVAREZ, ) -14
JOSE MANUEL CARRILLO-TREMILLO, ) -15
a/k/a Meche, )
CRISTIAN GARCIA, ) -16
MELVIN PERALTA, ) -17
a/k/a Leonardo, )
)
Defendants, )

SUPERSEDING INDICTMENT
M_TM
[Conspiracy to Distribute Controlled Substances - 21 U.S.C. § 846]
The Grand Jury charges that:
From on or about July 8, 2015 through September 4, 2016, in the Southern District of

Indiana, Indianapolis Division, RAFAEL ROJAS-REYES, OSCAR MACIAS, MERATH

1

 

 

Case 1:16-Cr-OOl23-TWP-DI\/|L Document 142 Filed 01/04/17 Page 2 of 25 Page|D #: 483

MORA-CHAVEZ, FRANCISCO TOLEDO-SANTOS, a/k/a Chiapas, ROBERTO S. MACIAS,
HECTOR SAUL CASTRO-AGUIRRE, a/k/a Chapo, a/k/a Chapito, ELVIA BARRIOS-
MORENO, ALDO MACHADO-CASTRO, RAFAEL LNU, a/k/a Flaco, JOHN RAMIREZ-
PRADO, YESENIA ANDRADE-GUILLEN, JESUS LOPEZ-ACOSTA, a/k/a Jessie, JULIO
CESAR CEBRERO-ALVAREZ, JOSE MANUEL CARRILLO-TREMILLO, a/k/a Meche,
CRISTIAN GARCIA, and MELVIN PERALTA, a/k/a Leonardo, did knowingly and
intentionally conspire together and with other persons, known and unknown to the Grand Jury, to
distribute controlled substances, in violation of Title 21, United States Code, Section 84l(a)(l).
OBJECTS OF THE CONSPIRACY

The charged conspiracy had the following obj ects:

1. The distribution of 500 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, a Schedule ll Non-Narcotic controlled substance.

2. The distribution of 5 kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II Narcotic controlled substance

MANNER AND MEANS

The charged conspiracy operated in the following manner:

1. HECTOR SAUL CASTRO-AGUIRRE, a/k/a Chapo, a/k/a Chapito (“CASTRO-
AGUIRRE”), a resident of Nogales, Mexico directed the activities of a drug trafficking
organization that operated throughout the United States.

2. ANGEL BARRIOS-MORENO, a resident of Mexico, acquired methamphetamine
and cocaine in Mexico and caused the controlled substances to be smuggled across the border

into the United States. ELVIA BARRIOS-MORENO smuggled cocaine across the border from

 

 

z

Case 1:16-Cr-OOl23-TWP-DI\/|L Document 142 Filed 01/04/17 Page 3 of 25 Page|`D #: 484 `

Nogales, Mexico into the United States for delivery to the CASTRO-AGUIRRE
ORGANIZATION.

3. ALDO MACHADO-CASTRO, (“MACHADO-CASTRO”), a resident of Tucson,
Arizona, served as the primary methamphetamine source for the CASTRO-AGUIRRE
ORGANIZATION.

4. ELVIA BARRIOS-MORENO and RAFAEL LNU, a/k/a Flaco, a resident of
Montebello, California, served as the primary cocaine sources for the CASTRO-AGUIRRE
ORGANIZATION.

5. CASTRO-AGUIRRE directed various drug couriers to transport
methamphetamine and cocaine from the western United States to various cities in the

Midwestern and Eastern United States. These drug couriers included YESENIA SAMANIEGO,

 

JESUS SAMANIEGO, JOHN RAMIREZ-PRADO (“RAMIREZ-PRADO”), YESENIA
ANDRADE-GUILLEN (“ANDRADE-GUILLEN”), JESUS LOPEZ-ACOSTA, a/k/a Jessie
(“LOPEZ-ACOSTA”), and JULIO CESAR CEBRERO-ALVAREZ (“CEBRERO-ALVAREZ”).
The cities that received controlled substances from the CASTRO-AGUIRRE ORGANIZATION
included the following: Indianapolis, Indiana; Lufkin, Texas; Reading, Pennsylvania; Queens,
NeW York; New Brunswick, New Jersey; Columbus, Ohio; and Omaha, Nebraska.

6. RAFAEL ROJAS-REYES (“ROJAS-REYES”) received methamphetamine and
cocaine from the CASTRO-AGUIRRE ORGANIZATION and operated a methamphetamine and
cocaine trafficking cell in the Indianapolis, Indiana area (“ROJAS-REYES CELL”). The
ROJAS-REYES CELL distributed methamphetamine and cocaine in the Indianapolis area. The

following individuals, among others, worked for the ROJAS-REYES CELL: l

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 4 of 25 Page|D #: 485

A. OSCAR MACIAS, a resident of Avon, Indiana, stored methamphetamine,
cocaine, and currency for the ROJAS-REYES CELL, distributed methamphetamine for
the ROJAS-REYES CELL, and drove ROJAS-REYES to various locations to facilitate
his drug trafficking activity.

B. MERATH MORA-CHAVEZ, a resident of Indianapolis, Indiana,
distributed methamphetamine for the ROJAS-REYES CELL.

C. FRANCISCO TOLEDO-SANTOS, a/k/a Chiapas (“TOLEDO-
SANTOS”), a resident of Avon, Indiana stored and distributed methamphetamine for the
ROJAS-REYES CELL. » v

D. ROBERTO MACIAS, a resident of Indianapolis, Indiana transported and
Stored methamphetamine for the ROJAS-REYES CELL.

7. y JOSE MANUEL CARRILLO-TREMILLO, a/k/a Meche (“CARRILLO-
TREMILLO”) received cocaine from the CASTRO-AGUIRRE ORGANIZATION and operated
cocaine distribution cells in Reading, Pennsylvania and Queens, New York.

8. CRISTIAN GARCIA (“GARCIA”) and MELVIN PERALTA, a/k/a Leonardo
(“PERALTA”), residents of New Brunswick, New Jersey, received cocaine from the CASTRO-
AGUIRRE ORGANIZATION and operated a cocaine distribution cell in New Brunswick, New
Jersey.

OVERT ACTS

In furtherance of the conspiracy and to accomplish the object of the conspiracy, that is to

distribute controlled substances, the members of the conspiracy did commit, among others, the

following overt acts:

 

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 5 of 25 Page|D #: 486

l. On or about July 8, 2015, at the direction of CASTRO-AGUIRRE, YESENIA
SAMANIEGO and LOPEZ-ACOSTA transported approximately 28 pounds of
methamphetamine from Tucson, Arizona to Lufkin, Texas. Af`ter arriving in Lufkin, CASTRO-
AGUIRRE delivered the methamphetamine to AGUSTIN MARTINEZ-ENRIQUEZ and
ALONZO MARTINEZ-ENRIQUEZ for redistribution.

2. On or about July 19, 2015, YESENIA SAMANIEGO, RAMIREZ-PRADO, and
LOPEZ-ACOSTA traveled to Montebello, California. While in Montebello, CASTRO-
AGUIRRE obtained approximately 27 kilograms of cocaine from RAFAEL'LNU and delivered
the cocaine to YESENIA SAMANIEGO, RAMIREZ-PRADO, and LOPEZ-ACOSTA. At the
direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO, RAMIREZ-PRADO, and LOPEZ-
ACOSTA transported the cocaine from Montebello to Queens, New York. After arriving in
Queens, CASTRO-AGUIRRE and LOPEZ-ACOSTA fronted the cocaine to CARRILLO-
TREMILLO for redistribution.

3. On or about August 8, 2015 , ELVIA BARRIOS-MORENO delivered over 10
kilograms of cocaine to YESENIA SAMANIEGO in Tucson, Arizona. At the direction of
CASTRO-AGUIRRE, YESENIA SAMANIEGO and RAMIREZ-PRADO transported the
cocaine from Tucson to East Brunswick, New Jersey. After arriving in East Brunswick,
CASTRO-AGUIRRE fronted the cocaine to GARCIA and PERALTA for redistribution. After
GARCIA and PERALTA sold the cocaine, CASTRO-AGUIRRE collected the money‘from
them. At CASTRO-AGUIRRE’s direction, YESENIA SAMANIEGO and RAMIREZ-PRADO
transported the drug proceeds from New Brunswick to Tucson for delivery to CASTRO-

AGUIRRE.

._._...__.. - -~. .._. ... ,___,._..____ _ _,.. _ 4

 

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 6 of 25 Page|D #: 487

4. On or about September 26, 2015, ELVIA BARRIOS-MORENO delivered at least
10 kilograms of cocaine to YESENIA SAMANIEGO in Tucson, Arizona. At the direction of
CASTRO-AGUIRRE, YESENIA SAMANIEGO, RAMIREZ-PRADO, and ANDRADE-
GUILLEN transported the cocaine from Tucson to East Brunswick, New Jersey. After arriving
in East Brunswick, CASTRO-AGUIRRE fronted the cocaine to GARCIA and PERALTA for
redistribution. After GARCIA and PERALTA sold the cocaine, CASTRO-AGUIRRE collected
the money from them. At CASTRO-AGUIRRE’$ direction, YESENIA SAMANIEGO,
RAMIREZ-PRADO, and ANDRADE-GUILLEN transported the drug proceeds from East
Brunswick to Tucson for delivery to CASTRO-AGUIRRE.

5. On or about October 22, 2015, ELVIA BARRIOS-MORENO delivered
approximately 30 kilograms of cocaine to YESENIA SAMANIEGO in Tucson, Arizona. At the
direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO, RAMIREZ-PRADO, and LOPEZ-
ACOSTA transported the cocaine from Tucson to East Brunswick, New Jersey. After arriving in
East Brunswick, CASTRO-AGUIRRE fronted the cocaine to GARCIA and PERALTA for
redistribution. After GARCIA and PERALTA sold the cocaine, CASTRO-AGUIRRE collected
the money from them. At CASTRO-AGUIRRE’s direction, YESENIA SAMANIEGO,
RAMIREZ-PRADO, and LOPEZ-ACOSTA transported the drug proceeds from East Brunswick
to Tucson for delivery to CASTRO-AGUIRRE.

6. On or about November 3, 2015, MACHADO-CASTRO caused approximately 29
pounds of methamphetamine to be delivered to YESENIA SAMANIEGO in Tucson, Arizona.
At the direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO and RAMIREZ-PRADO
transported the methamphetamine from Tucson to Avon, Indiana, After arriving in Avon,

CASTRO-AGUIRRE fronted the methamphetamine to ROJAS-REYES for redistribution.

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 7 of 25 Page|D #: 488

7. On or about November 13, 2015, ELVIA BARRIOS-MORENO delivered
approximately 30 kilograms of cocaine to YESENIA SAMANIEGO in Tucson, Arizona. At the
direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO, RAMIREZ-PRADO, and
ANDRADE-GUILLEN transported the cocaine from Tucson to Avon, Indiana, While in
Indianapolis, at the direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO and
ANDRADE-GUILLEN collected approximately $100,000 in currency from RGJAS-REYES.
YESENIA SAMANIEGO, RAMIREZ-PRADO, and ANDRADE-GUILLEN transported the
cocaine and currency from Avon to East Brunswick, New Jersey. After arriving in East
Brunswick, CASTRO-AGUIRRE fronted the cocaine to GARCIA and PERALTA for
redistribution.

8. On or about December 9, 2015, MACHADO-CASTRO delivered approximately
32 pounds of methamphetamine to YESENIA SAMANIEGO in Tucson, Arizona. At the
direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO, RAMIREZ-PRADO, and
ANDRADE-GUILLEN transported the methamphetamine from Tucson to Indianapolis, Indiana,
After arriving in Indianapolis, YESENIA SAMANIEGO, RAMIREZ-PRADO, and ANDRADE
GUILLEN delivered the methamphetamine to an unidentified associate of ROJAS-REYES for
delivery to ROJAS-REYES.

9. On or about December 13, 2015, YESENIA SAMANIEGO, RAMIREZ-PRADO,
and ANDRADE-GUILLEN traveled to Montebello, California. While in Montebello,
CASTRO-AGUIRRE obtained approximately 40 kilograms of cocaine from RAFAEL LNU and
delivered the cocaine to YESENIA SAMANIEGO, RAMIREZ-PRADO, and ANDRADE-
GUILLEN. At the direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO, RAMIREZ-

PRADO, and ANDRADE-GUILLEN transported the cocaine from Montebello to Queens, New

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 8 of 25 Page|D #: 489

York. Af`ter arriving in Queens, CASTRO-AGUIRRE fronted the cocaine to CARRILLO-
TREMILLO for redistribution After CARRILLO-TREMILLO sold the cocaine, CASTRO-
AGUIRRE collected the money from him. At CASTRO-AGUIRRE’s direction, YESENIA
SAMANIEGO, RAMIREZ-PRADO, and ANDRADE-GUILLEN transported some of the drug
proceeds from Queens to Tucson for delivery to CASTRO-AGUIRRE.

10. On or about January 15, 2016, at the direction of CASTRO-AGUIRRE,
YESENIA SAMANIEGO, RAMIREZ-PRADO, ANDRADE-GUILLEN, and CEBRERO-/
ALVAREZ flew from Tucson, Arizona to New York, New York. YESENIA SAMANIEGO,
RAMIREZ-PRADO, ANDRADE-GUILLEN and CEBRERO-ALVAREZ drove from New York
to Reading, Pennsylvania. After arriving in Reading, CASTRO-AGUIRRE provided
approximately $1,000,000 in currency which he had collected from CARRILLO-TREMILLO.
At CASTRO-AGUIRRE’s direction, YESENIA SAMANIEGO, RAMIREZ-PRADO, and
ANDRADE-GUILLEN transported the currency from Reading to Montebello, California for
delivery to CASTRO-AGUIRRE.

ll. On or about January 29, 2016, ELVIA BARRIOS-MORENO attempted to
transport approximately 11 kilograms of cocaine from Nogales, Mexico to Nogales, Arizona for
delivery to YESENIA SAMANIEGO and JESUS SAMANIEGO.

12. On or about February 19, 2016, YESENIA SAMANIEGO, JESUS
SAMANIEGO, and YESENIA ANDRADE-GUILLEN traveled to Montebello, California.
While in Montebello, CASTRO-AGUIRRE obtained approximately 50 kilograms of cocaine
from RAFAEL LNU and delivered the cocaine to YESENIA SAMANIEGO, JESUS
SAMANIEGO, and ANDRADE-GUILLEN At the direction of CASTRO-AGUIRRE,

YESENIA SAMANIEGO, JESUS SAMANIEGO, and ANDRADE-GUILLEN transported the

 

___________________j

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 9 of 25 Page|D #: 490

cocaine from Montebello to Reading, Pennsylvania. After arriving in Reading, CASTRO-
AGUIRRE fronted the cocaine to CARRILLO-TREMILLO for redistribution. After

CARRILLO-TREMILLO sold the cocaine, CASTRO-AGUIRRE collected the money from him.

 

At CASTRO-AGUIRRE’s direction, YESENIA SAMANIEGO, JESUS SAMANIEGO, and
ANDRADE-GUILLEN transported the drug proceeds from Reading to Montebello for delivery
to CASTRO-AGUIRRE.

13. On or about March 9, 2016, YESENIA SAMANIEGO, JESUS SAMANIEGO,
and ANDRADE-GUILLEN traveled from Tucson, Arizona to Montebello, California. While in
Montebello, CASTRO-AGUIRRE obtained approximately 30 kilograms of cocaine from
RAFAEL LNU and delivered the cocaine to YESENIA SAMANIEGO, JESUS SAMANIEGO,
and ANDRADE-GUILLEN At the direction of CASTRO-AGUIRRE, YESENIA
SAMANIEGO, JESUS SAMANIEGO, and ANDRADE-GUILLEN transported the cocaine
from Montebello to Avon, Indiana. After arriving in Avon, CASTRO-AGUIRRE fronted the
approximately 24 kilograms of the cocaine to ROJAS-REYES for redistribution At the
direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO, JESUS SAMANIEGO, and
ANDRADE-GUILLEN transported the remaining cocaine from Avon to Queens, New York.
After arriving in Queens, CASTRO-AGUIRRE fronted approximately 6 kilograms of cocaine to
an individual known as “Tono” for redistribution. On or about March 13, 2016, at the direction
of CASTRO-AGUIRRE, CEBRERO-ALVAREZ traveled from Tucson to Indianapolis to
monitor ROJAS-REYES’ efforts to distribute controlled substances. f

14. Between January 29, 2016 and March 30, 2016, an unknown female Working for
ANGEL BARRIOS-MORENO delivered at least 20 pounds of methamphetamine to YESENIA

SAMANIEGO in Valencia, Arizona. At the direction of CASTRO-AGUIRRE, YESENIA

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 10 of 25 Page|D #: 491

SAMANIEGO and JESUS SAMANIEGO stored the methamphetamine at their residence in
Tucson, Arizona until another individual working for CASTRO-AGUIRRE obtained the
methamphetamine from them.

15. On or about March 30, 2016, at the direction of CASTRO-AGUIRRE, YESENIA
SAMANIEGO and JESUS SAMANIEGO traveled from Tucson, Arizona to Avon, Indiana,
While in Avon, CASTRO-AGUIRRE provided YESENIA SAMANIEGO and JESUS
SAMANIEGO with over 20 pounds of methamphetamine At CASTRO-AGUIRRE’s direction,
YESENIA SAMANIEGO and JESUS SAMANIEGO transported the methamphetamine from
Avon to Columbus, Ohio. CASTRO-AGUIRRE drove to Columbus in a separate vehicle.
While in Columbus, CASTRO-AGUIRRE delivered the methamphetamine to an unknown
individual. ‘

16. On or about April 27, 2016, at the direction of RAFAEL ROJAS-REYES
(“ROJAS-REYES”), OSCAR MACIAS delivered approximately one pound of
methamphetamine to a confidential informant (“Individual #1”) in Indianapolis, Indiana,

17. On or about May 2, 2016, CASTRO-AGUIRRE placed a telephone ca11 to
YESENIA SAMANIEGO and advised her that rival members of the Sinaloa Cartel had
kidnapped ANGEL BARRIOS-MORENO and were holding him hostage pending a $500,000
ransom payment On or about May 2, 2016, YESENIA SAMANIEGO and JESUS
SAMANIEGO flew from Tucson, Arizona to Indianapolis, Indiana, CASTRO-AGUIRRE
collected approximately $250,000 in currency from ROJAS-REYES. CASTRO-AGUIRRE,
YESENIA SAMANIEGO, and JESUS SAMANIEGO transported the $250,000 in currency from
Indianapolis to Queens, New York, where CASTRO-AGUIRRE and JESUS SAMANIEGO

delivered the money to an individual designated by ANGEL BARRIOS-MORENO’ wife.

10

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 11 of 25 Page|D #: 492

Despite the ransom payment, members of the Sinaloa Cartel executed ANGEL BARRIOS-
MORENO’s and two other individuals on or about May 10, 2016.

18. On or about May 6, 2016, ROJAS-REYES delivered approximately three and
one-half pounds of methamphetamine to Individual #1 in the parking lot of a Target store located
at 10209 East U.S. Highway 36, Avon, Indiana,

19. On or about May 11, 2016, ROBERTO MACIAS and ROJAS-REYES drove
from Indianapolis, Indiana to Tucson, Arizona, While in Arizona, ROJAS-REYES received
approximately 30 pounds of methamphetamine from associates of CASTRO-AGUIRRE and
approximately 30 pounds of methamphetamine from another individual. At ROJAS-REYES’
direction, ROBERTO MACIAS transported the methamphetamine from Tucson to Avon,
Indiana and transferred the methamphetamine to ROJAS-REYES. ROJAS-REYES caused the
distribution of methamphetamine and drug proceeds to individuals whom he supervised in the
ROJAS-REYES CELL as follows:

A. On or about May 24, 2016, ROJAS-REYES and MORA-CHAVEZ
delivered approximately one pound of methamphetamine to lndividual #1 in the parking
lot outside of the Birriera Andrade Mexican Restaurant, located at 2135 West
Washington Street, Indianapolis, Indiana,

B. On or about May 25, 2016, TOLEDO-SANTOS and MORA-CHAVEZ
attempted to deliver three pounds of methamphetamine to FRANCISCO RODRIGUEZ-
MACIAS at 2855 West Ray Street, Indianapolis, Indiana,

C. On or about May 25, 2016, TOLEDO-SANTOS possessed approximately

twelve pounds of methamphetamine, digital scales, heat sealing equipment, and baggies

11v

 

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 12 of 25 Page|D #: 493

at 3454 Marabou Mills Place, Indianapolis, Indiana. TOLEDO-SANTOS stored this
methamphetamine for ROJAS-REYES.
D. On or about May 25, 2016, OSCAR MACIAS possessed approximately
$41,950 in currency at 614 Gipper Way East, Apartment F, Avon, Indiana. l
E. On or about May 25, 2016, ROJAS-REYES possessed approximately
$10,119 in currency and a drug ledger at 611 Gipper Way East, Avon, Indiana.
F. On or about May 26, 2016, ROBERTO MACIAS possessed
approximately 21 pounds of methamphetamine, digital scales, heat sealing equipment,
baggies, and a money counting machine at 2121 North Duck Lane, Indianapolis, Indiana,
20. On or about May 20, 2016, CASTRO-AGUIRRE, YESENIA SAMANIEGO, and
JESUS SAMANIEGO drove from Tucson, Arizona to Montebello, California. While in
Montebello, CASTRO-AGUIRRE and JESUS SAMANIEGO obtained approximately 57
kilograms of cocaine from RAFAEL LNU. At the direction of CASTRO-AGUIRRE, YESENIA
SAMANIEGO and JESUS SAMANIEGO transported the cocaine from Montebello to Reading,
Pennsylvania, while CASTRO-AGUIRRE followed in a separate vehicle. After arriving in
Reading, CASTRO-AGUIRRE fronted the cocaine to CARRILLO-TREMILLO for
redistribution. After CARRILLO-TREMILLO sold the cocaine, CASTRO-AGUIRRE collected
the money from him. At CASTRO-AGUIRRE’s direction, YESENIA SAMANIEGO and
JESUS SAMANIEGO transported some of the drug proceeds from Reading to Montebello for
delivery to CASTRO-AGUIRRE.

21. On or about June 30, 2016, CEBRERO-ALVAREZ possessed approximately 4

kilograms of cocaine in Pinal, Arizona,

12

m
Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 13 of 25 Page|D #: 494 l

22. On or about July 23, 2016, YESENIA SAMANIEGO and JESUS SAMANIEGO
traveled from Tucson, Arizona to Omaha, Nebraska. After arriving in Omaha, YESENIA
SAMANIEGO and JESUS SAMANIEGO obtained approximately seven pounds of
methamphetamine from an unknown individual at the direction of CASTRO-AGUIRRE. At the
further direction of CASTRO-AGUIRRE, YESENIA SAMANIEGO and JESUS SAMANIEGO
transported the methamphetamine from Omaha to Indianapolis, Indiana for delivery to another
individual.

23. On or about September 4, 2016, ANDRADE~GUILLEN possessed approximately
82.4 million while driving westbound on lnterstate 70 in Madison County, Illinois.

All in violation of Title 21 , United States Code, Section 846.

 

COUNT TWO
[Continuing Criminal Enterprise - 21 U.S.C. §§ 848(a), (b)(l)]

The Grand Jury further charges that:

Beginning on or about July 8, 2015 and continuing up to and including September 4,
2016, in the Southern District of Indiana, Indianapolis Division, and elsewhere, HECTOR SAUL l
CASTRO-AGUIRRE, a/k/a Chapo, a/k/a Chapito, did knowingly, intentionally, and unlawfully
engage in a continuing criminal enterprise, in that the defendant knowingly, intentionally, and
unlawfully violated Title 21, United States Code, Sections 841(a)(1), 843 (b), and 846, which
violations were part of a continuing series of violations of the Controlled Substances Act, Title
21, United States Code, Section 801, et seq. , that involved at least ten kilograms of a mixture or
substance containing methamphetamine and at least one hundred and fifty kilograms of a

mixture or substance containing a detectable amount of cocaine, were undertaken by the

13

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 14 of 25 Page|D #: 495

defendant in concert with at least five other persons with respect to whom the defendant
occupied a position of management, from which the defendant obtained substantial income and

resources, and that the defendant was a principal leader of the enterprise

The continuing series of violations committed by HECTOR SAUL CASTRO-AGUIRRE

include, but are not limited to, the following felony violations of the Controlled Substances Act:

l. On or about November 6, 2015, HECTOR SAUL CASTRO-AGUIRRE did
knowingly and intentionally distribute methamphetamine to RAFAEL ROJAS-REYES in Avon,
Indiana, in violation of Title 21, United States Code, Section 841(a)(1) and Tit1e418, United

States Code, Section 2.

2. On or about November 15 , 2015, HECTOR SAUL CASTRO-AGUIRRE did
knowingly and intentionally possess cocaine with intent to distribute in Avon, Indiana, in
violation of Title 21 , United States Code, Section 841(a)(1) and Title 18, United States Code,

Section 2.

3. On or about December 11, 2015, HECTOR SAUL CASTRO-AGUIRRE did
knowingly and intentionally distribute methamphetamine in Avon, Indiana, in violation of Title

21, United States Code, Section 841(a)(1) and Title 18, United States Code, Section 2.

4. On or about March 13, 2016, HECTOR SAUL CASTRO-AGUIRRE did
knowingly and intentionally distribute cocaine to RAFAEL ROJAS-REYES in Avon, Indiana, in
violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States Code,

Section 2.

14

 

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 15 of 25 Page|D #: 496

5. On or about April 1, 2016, HECTOR SAUL CASTRO-AGUIRRE did knowingly
and intentionally distribute methamphetamine to YESENIA SAMANIEGO and JESUS
SAMANIEGO in Avon, Indiana, in violation of Title 21, United States Code, Section 841(a)(1)

and Title 18, United States Code, Section 2.

6. On or about July 29, 2016, HECTOR SAUL CASTRO-AGUIRRE did knowingly
and intentionally possess methamphetamine with intent to distribute in Avon, Indiana, in
violation of Title 21 , United States Code, Section 841(a)(1) and Title 18, United States Code,

Section 2.

All in violation of Title 21, United States Code, Sections 848(a) and (b)( 1).

COUNT THREE
[Continuing Criminal Enterprise - 21 U.S.C. §§ 848(a), (b)(l)]

The Grand Jury further charges that:

Beginning on or about November 6, 2015 and continuing up to and including May 26,
2016, in the Southern District of Indiana, Indianapolis Division, and elsewhere, RAFAEL
ROJAS-REYES did knowingly, intentionally, and unlawfully engage in a continuing criminal
enterprise, in that the defendant knowingly, intentionally, and unlawfully violated Title 21,
United States Code, Sections 841(a)(1), 843(b), and 846, which violations were part of a
continuing series of violations of the Controlled Substances Act, Title 21, United States Code,
Section 801, et seq., that involved at least ten kilograms of a mixture or substance containing
methamphetamine, were undertaken by the defendant in concert with at least five other persons

with respect to whom the defendant occupied a position of management, from which the

15

 

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 16 of 25 Page|D #: 497

defendant obtained substantial income and resources, and that the defendant was a principal

leader of the enterprise

The continuing series of violations committed by RAFAEL ROJAS-REYES include, but

are not limited to, the following felony violations of the Controlled Substances Act:

1. On or about November 6, 2015, RAFAEL ROJAS-REYES did knowingly and
intentionally possess methamphetamine with intent to distribute in Avon, Indiana, in violation of j

Title 21 , United States Code, Section 841(a)(l) and Title 18, United States Code, Section 2.

2. On or about December 11, 2015, RAFAEL ROJAS-REYES did knowingly and
intentionally possess methamphetamine with intent to distribute in Indianapolis, Indiana, in
violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States Code,

Section 2.

3. On or about March 13, 2016, RAFAEL ROJAS-REYES did knowingly and
intentionally possess cocaine with intent to distribute in Avon, Indiana, in violation of Title 21,

United States Code, Section 841(a)(1) and Title 18, United States Code, Section 2.

4. On or about May 6, 2016, RAFAEL ROJAS-REYES did knowingly and
intentionally distribute approximately three and one-half pounds of methamphetamine to

Individual #1 in Avon, Indiana, in violation of Title 21 , United States Code, Section 84l(a)(l).

5. On or about May 20, 2016, RAFAEL ROJAS-REYES did knowingly and
intentionally possess methamphetamine with intent to distribute in Indianapolis, Indiana, in
violation of Title 21, United States Code, Section 841(a)(1) and Title 18, United States Code,

Section 2.

16

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 17 of 25 Page|D #: 498

6. On or about May 24, 2016, RAFAEL ROJAS-REYES did knowingly and
intentionally distribute approximately one pound of methamphetamine to Individual #1 in
Indianapolis, Indiana, in violation of Title 21, United States Code, ySection 841(a)(1).

All in violation of Title 21 , United States Code, Sections 848(a) and (b)(l).

M
[Conspiracy to Launder Monetary Instruments - 18 U.S.C. § 1956(h)]

The Grand Jury further charges that:

From on or about July 8, 2015 through September 4, 2016, in the Southern District of
Indiana, Indianapolis Division, and elsewhere, RAFAEL ROJAS-REYES, OSCAR MACIAS,
HECTOR SAUL CASTRO-AGUIRRE, a/k/a Chapo, a/k/a Chapito, JOHN RAMIREZ-PRADO,
YESENIA ANDRADE-GUILLEN, and JOSE MANUEL CARRILLO-TREMILLO, a/k/a
Meche, did knowingly combine, conspire and agree with each other and with other persons
known and unknown to the Grand Jury to knowingly conduct financial transactions affecting

l interstate commerce, which involved the proceeds of a specified unlawful activity, that is the
distribution of controlled substances, with the intent to promote the carrying on of specified
unlawful activity, that is the distribution of controlled substances, and that while conducting such
financial transactions knew that the property involved in the financial transactions represented
the proceeds of some form of unlawful activity, in violation of Title 18, United States Code,

Section 1956(a)(1)(A)(i).

17

 

Case 1:16-Cr-00123-TWP-DI\/|L Document 142 Filed 01/04/17 Page 18 of 25 Page|D #: 499

OVERT ACTS

In furtherance of the conspiracy and to accomplish the object of the conspiracy, that is to
distribute methamphetamine, the members of the conspiracy did commit, among others, the
following overt acts:

l. On or about November 13, 2015 , RAMIREZ-PRADO, at the direction of
CASTRO-AGUIRRE, rented a Chevrolet Suburban from Budget Car Rental in Tucson, Arizona
at a cost of approximately $2,670.83.

2. On or about November 15, 2015, RAFAEL ROJAS-REYES (“ROJAS-REYES”)
delivered approximately $100,000 that represented the proceeds of fronted methamphetamine to
YESENIA SAMANIEGO and YESENIA ANDRADE-GUILLEN (“ANDRADE-GUILLEN”) in
Avon, Indiana. At the direction of HECTOR SAUL CASTRO-AGUIRRE (“CASTRO-
AGUIRRE”), YESENIA SAMANIEGO, JOHN RAMIREZ-PRADO (“RAMIREZ-PRADO”),
and ANDRADE-GUILLEN transported the methamphetamine proceeds from Avon to East
Brunswick, New Jersey.

3. On or about December 13, 2015, RAMIREZ-PRADO, at the direction of
CASTRO-AGUIRRE, rented a Dodge Durango from Budget Car Rental in Los Angeles,
California at a cost of approximately $1,964.13.

4. On or about December 22, 2015, JOSE MANUEL CARRILLO-TREMILLO,
a/k/a Meche (“CARRILLO-TREMILLO”), delivered the proceeds of fronted cocaine to
CASTRO-AGUIRRE in Reading, Pennsylvania. CASTRO-AGUIRRE, YESENIA
SAMANIEGO, and ANDRADE-GUILLEN transported the cocaine proceeds by vehicle from

Reading to New York, New York and then transported the cocaine proceeds by commercial

18

 

Case 1:16-Cr-00123-TWP-D|\/|L Document 142 Filed 01/04/17 Page 19 of 25 Page|D #: 500

airlines from New York to Tucson, CASTRO-AGUIRRE took possession of all of the cocaine
proceeds in Tucson,

5. On or about January 15, 2016 and continuing to January 17, 2016, at CASTRO-
AGUIRRE’s direction, YESENIA SAMANIEGO traveled to Whitestone New York and rented
a hotel room at the Extended Stay America, located in Whitestone at a cost of approximately
$293.88.

6. On or about January 16, 2016 and continuing through January 18, 2016,
CARRILLO-TREMILLO rented a hotel room at the Extended Stay America, located in
Whitestone, New York, at a cost of approximately $249.98.

7. On or about January 17, 2016, CASTRO-AGUIRRE delivered approximately
$1,000,000 in currency which he had collected from CARRILLO-TREMILLO for previously
fronted cocaine to YESENIA SAMANIEGO, RAMIREZ-PRADO, and ANDRADE-GUILLEN
in Reading, Pennsylvania. At CASTRO-AGUIRRE’s direction, YESENIA SAMANIEGO,
RAMIREZ-PRADO, and ANDRADE-GUILLEN transported the currency from Reading to
Montebello, California for delivery to CASTRO-AGUIRRE.

8. On or about February 25, 2016, CARRILLO-TREMILLO delivered the proceeds
of previously fronted cocaine to CASTRO-AGUIRRE in Reading, Pennsylvania. CASTRO-
AGUIRRE delivered the cocaine proceeds to YESENIA SAMANIEGO, JESUS SAMANIEGO,
and ANDRADE-GUILLEN in Reading, At CASTRO-AGUIRRE’s direction, YESENIA
SAMANIEGO, JESUS SAMANIEGO, and ANDRADE-GUILLEN transported the drug
proceeds from Reading to Montebello, California for delivery to CASTRO-AGUIRRE.

9. On or about May 2, 2016, CASTRO-AGUIRRE placed a telephone call to

YESENIA SAMANIEGO and advised her that rival members of the Sinaloa Cartel had

19

 

Case 1:16-Cr-00123-TWP-D|\/|L Document 142 Filed 01/04/17 Page 20 of 25 Page|D #: 501

kidnapped ANGEL BARRIOS-MORENO and were holding him hostage pending a $500,000
ransom payment On or about May 2, 2016, YESENIA SAMANIEGO and JESUS
SAMANIEGO flew from Tucson, Arizona to Indianapolis, Indiana. CASTRO-AGUIRRE
collected approximately $250,000 which represented the proceeds of previously fronted
controlled substances from ROJAS-REYES. CASTRO-AGUIRRE, YESENIA SAMANIEGO,
and JESUS SAMANIEGO transported the $250,000 in currency in a Cadillac Escalade rental
vehicle from Indianapolis to Queens, New York, where CASTRO-AGUIRRE and JESUS
SAMANIEGO delivered the money to an individual designated by ANGEL BARRIOS-
MORENO’s wife Despite the ransom payment, members of the Sinaloa Cartel executed
ANGEL BARRIOS~MORENO and two other individuals on or about May 10, 2016.

` 10. On or about May ll, 2016, at the direction of ROJAS-REYES, ROBERTO
MACIAS rented a Chevrolet Suburban from Avis Car Rental in Indianapolis, Indiana at a cost of
approximately $1,654.91 .

11. On or about May 25 , 2016, OSCAR MACIAS possessed approximately $41,950
in currency at 614 Gipper Way East, Apartment F, Avon, Indiana, which he had stored at this
residence at the direction of ROJAS-REYES.

12. On or about May 25, 2016, ROJAS-REYES possessed approximately $10,119 in
currency at 611 Gipper Way East, Avon, Indiana,

13. On or about May 27, 2016, CARRILLO-TREMILLO delivered the proceeds of
previously fronted cocaine to CASTRO-AGUIRRE in Reading, Pennsylvania. CASTRO-
AGUIRRE delivered the cocaine proceeds to YESENIA SAMANIEGO and JESUS

SAMANIEGO in Reading, At CASTRO-AGUIRRE’$ direction, YESENIA SAMANIEGO and

20

 

v 1

Case 1:16-Cr-00123-TWP-D|\/|L Document 142 Filed 01/04/17 Page 21 of 25 Page|D #: 502

JESUS SAMANIEGO transported some of the drug proceeds from Reading to Montebello for
delivery to CASTRO-AGUIRRE.

14. On or about August 25, 2016 and continuing through August 28, 2016,
ANDRADE-GUILLEN rented a hotel room at the Holiday lnn Express located in Wyomissing,
Pennsylvania at a cost of approximately $396.27.

15. On or about September 4, 2016, ANDRADE-GUILLEN possessed approximately
$2.4 million while driving westbound on lnterstate 70 in Madison County, Illinois.

All in violation of Title 18, United States Code, Section 1956(h).

COUNT FIVE
[Distribution of Methamphetamine - 21 U.S.C. § 841(a)(1)]
The Grand Jury further charges that:
On or about April 27, 2016, within the Southern District of Indiana, Indianapolis
Division, OSCAR MACIAS did knowingly and intentionally distribute 50 grams or more of a
mixture or substance containing a detectable amount of methamphetamine, a Schedule II, Non-

Narcotic controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

COUNT SIX
[Distribution of Methamphetamine - 21 U.S.C. § 841(a)(1)]
The Grand Jury further charges that:
On or about May 6, 2016, within the Southern District of Indiana, Indianapolis Division,

RAFAEL ROJAS-REYES did knowingly and intentionally distribute 500 grams or more of a

21

 

____

Case 1:16-Cr-00123-TWP-D|\/|L Document 142 Filed 01/04/17 Page 22 of 25 Page|D #: 503

mixture or substance containing a detectable amount of methamphetamine, a Schedule II, Non-

Narcotic controlled substance, in violation of Title 21 , United States Code, Section 841(a)(1).

Q_QM
[Distribution of Methamphetamine - 21 U.S.C. § 841(a)(1)]

The Grand Jury firrther charges that:

On or about May 24, 2016, within the Southern District of Indiana, Indianapolis Division,
RAFAEL ROJAS-REYES and MERATH MORA-CHAVEZ did knowingly and intentionally
distribute 50 grams or more of a mixture or substance containing a detectable amount of
methamphetamine, a Schedule II, Non-Narcotic controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1).

COUNT EIGHT
[Possession of Methamphetamine With Intent to Distribute - 21 U.S.C. § 841(a)(1)]

The Grand Jury firrther charges that:

On or about May 25, 2016, within the Southern District of Indiana, Indianapolis Division,
FRANCISCO TOLEDO-SANTOS, a/k/a Chiapas, and MERATH MORA-CHAVEZ did
knowingly and intentionally possess with intent to distribute 500 grams or more of a mixture or
substance containing a detectable amount of methamphetamine, a Schedule II, Non-Narcotic

controlled substance, in violation of Title 21, United States Code, Section 841(a)(1).

22

 

Case 1:16-Cr-00123-TWP-D|\/|L Document 142 Filed 01/04/17 Page 23 of 25 Page|D #: 504

COUNT NINE
[Possession of Methamphetamine With Intent to Distribute - 21 U.S.C. § 841(a)(1)]

The Grand Jury further charges that:

On or about May 25, 2016, within the Southern District of Indiana, Indianapolis Division,
RAFAEL ROJAS-REYES did knowingly and intentionally possess with intent to distribute 500
grams or more of a mixture or substance containing a detectable amount of methamphetamine, a
Schedule II, Non-Narcotic controlled substance, in violation of Title 21, United States Code,

Section 841 (a)(l).

COUNT TEN
[Possession of Methamphetamine With Intent to Distribute - 21 U.S.C.'§ 841(a)(1)]

The Grand Jury further charges that:

On or about May 26, 2016, within the Southern District of Indiana, Indianapolis Division,
ROBERTO S. MACIAS did knowingly and intentionally possess with intent to distribute 500
grams or more of a mixture or substance containing a detectable amount of methamphetamine, a
Schedule II, Non-Narcotic controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1).
FORFEITURE ALLEGATIONS

1. The allegations in Counts One through Ten of this Superseding Indictrnent are
realleged as if fully set forth here, for the purpose of giving the defendants notice of the United
States’ intent to seek forfeiture pursuant to Title 21, United States Code, Section 853, Title 18,

United States Code, Section 924, and Title 28, United States Code, Section 2461.

23

 

Case 1:16-Cr-00123-TWP-D|\/|L Document 142 Filed 01/04/17 Page 24 of 25 Page|D #: 505

2. If convicted of the offenses set forth in Counts One through Ten of this
Superseding Indictment, RAFAEL ROJAS-REYES, OSCAR MACIAS, MERATH MORA-
CHAVEZ, FRANCISCO TOLEDO-SANTOS, a/k/a Chiapas, ROBERTO S. MACIAS,

l HECTOR SAUL CASTRO-AGUIRRE, a/k/a Chapo, a/k/a Chapito, ELVIA BARRIOS-
MORENO, ALDO MACHADO-CASTRO, JOHN RAMIREZ-PRADO, RAFAEL LNU, a/k/a
Flaco,YESENIA ANDRADE-GUILLEN, JESUS LOPEZ-ACOSTA, a/k/a Jessie, JULIO
CESAR CEBRERO-ALVAREZ, JOSE MANUEL CARRILLO-TREMILLO, a/k/a Meche,
CRISTIAN GARCIA, and MELVIN PERALTA, a/k/a Leonardo shall forfeit to the United
States any and all property constituting or derived from any proceeds the defendants obtained
directly or indirectly as a result of the offenses of which he or she is convicted, and any and all
property used or intended to be used in any manner or part to commit and to facilitate the

commission of the offenses of which he is convicted.

3. lf convicted of the offenses set forth in Counts One through Ten of this
Superseding Indictment, RAFAEL ROJAS-REYES, OSCAR MACIAS, MERATH MORA-
CHAVEZ, FRANCISCO TOLEDO-SANTOS, a/k/a Chiapas, ROBERTO S. MACIAS,
HECTOR SAUL CASTRO-AGUIRRE, a/k/a Chapo, a/k/a Chapito, ELVIA BARRIOS-
MORENO, ALDO MACHADO-CASTRO, JOHN RAMIREZ-PRADO, RAFAEL LNU, a/k/a
Flaco, YESENIA ANDRADE-GUILLEN, JESUS LOPEZ-ACOSTA, a/k/a Jessie, JULIO
CESAR CEBRERO-ALVAREZ, JOSE MANUEL CARRILLO-TREMILLO, a/k/a Meche,

CRISTIAN GARCIA, and MELVIN PERALTA, a/k/a Leonardo shall also forfeit to the United

24

`v.

Case 1:16-Cr-00123-TWP-D|\/|L Document 142 Filed 01/04/17 Page 25 of 25 Page|D #: 506

States, pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States Code,
Section 246l(c), any firearm or ammunition involved in or used in any of the offenses of which

he or she is convicted.

A TRUE BILL:

!REPERSON

JOSH J. MINKLER

Bradley A. mackington
Chief, Drug and Violent Crime Unit

 

25

 

